              Case 1:20-cv-07430-LGS Document 19 Filed 01/11/21 Page 1 of 2




                                                                xxxxxxxxxxxxxxxxxxxxxxxxxxxxx    REGARDING




The application is DENIED. This case was closed pursuant to the Order, dated November 19, 2020
(Dkt. No. 15), and neither party moved to reopen within 30 days, as required by that Order.

SO ORDERED

Dated: January 11, 2021
       New York, New York
           Case 1:20-cv-07430-LGS Document 19 Filed 01/11/21 Page 2 of 2




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